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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

IN RE: CAPITAL ONE CONSUMER                          )   MDL No. 1:19-md-02915 (AJT-JFA)
DATA SECURITY BREACH LITIGATION                      )
                                                     )
                                                     )


  This Document Relates to the Consumer Cases

      DEFENDANTS AMAZON.COM, INC. AND AMAZON WEB SERVICES, INC.’S
                   MOTION FOR SUMMARY JUDGMENT


           Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendants Amazon.com, Inc.

  and Amazon Web Services, Inc. (“Amazon”) respectfully move for summary judgment. For the

  reasons set forth in the accompanying memorandum of law and supporting exhibits, Amazon seeks

  summary judgment on the claims asserted against it by the Representative Plaintiffs in the Second

  Amended Representative Consumer Class Action Complaint (Dkt. 971), specifically Counts 1, 2,

  3, 4, 8, 9, 10, 11, 12, 13, 14, and 15.

  Dated:     July 2, 2021                       Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 2, 2021, I electronically filed the foregoing document with the

  Clerk of the Court using the CM/ECF system, which will send notice of electronic filing to all

  counsel of record.




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